     Case 1:21-cr-00007-LJV-JJM Document 36-1 Filed 01/31/22 Page 1 of 3



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                                  21-CR-7-LJV

UNITED STATES OF AMERICA,                                         AFFIDAVIT

            v.
JOHN STUART,

                    Defendant.


STATE OF NEW YORK                   )
COUNTY OF MONROE                    ) ss:
CITY OF ROCHESTER                   )


GERALD R. GRANT, JR., being duly sworn, deposes and states:


      1. I am an investigator with the Federal Public Defender's Office for the Western District

         of New York, specializing in digital forensics. I have held this position since 2010.

         Previously, I held the Computer Systems Administrator from 1994 - 2010. Concurrently

         (and since 1990), I have owned JR Computer Consulting, a private firm providing

         digital forensics consulting services.


      2. I have expertise in Computer Forensics, Mobile Forensics and Historical Cell

         Site Analysis. I have been qualified as an expert in both State and Federal cases

         over 50 times. I am an AccessData Certified Examiner, Cellebrite Certified

         Operator, Cellebrite Certified Physical Analyst, Cellebrite Certified Mobile

         Examiner, Cellebrite Certified Advanced Smartphone Analysis Examiner,

         Cellebrite Certified Advanced Smartphone Extraction Examiner, Cellebrite




                                                  1
Case 1:21-cr-00007-LJV-JJM Document 36-1 Filed 01/31/22 Page 2 of 3



   Certified Evidence Repair Technician - Forensics, systems analyst,

   programmer and trainer with more than 25 years of experience involving

   digit_al forensics, cell site analysis, social site investigations, eDiscovery and

   litigation support. I have been involved in hundreds of state and federal cases

   and have forensically examined well over a thousand devices.


3. I was asked to review the digital forensic evidence as well as the relevant discovery in

   this case. One of the documents that I reviewed was an application for a Search

   Warrant that was drafted by Task Force Officer Michael Hockwater dated October 8,

   2020. In that application, TFO Hockwater writes:


           Even after connecting to the Tor network, however, a user would have to find
           the 16-or-56-character web address of the TARGET WEBSITE in order to
           access it. Hidden service websites on the Tor Network are not "indexed" by
           search engines-such as Google-to anywhere near the same degree as websites
           that operate on the open Internet. Accordingly, it is much more difficult to
           perform a Google-type search of hidden service websites than it is to search
           open Internet websites for particular content of interest ... As with other
           hidden service websites, a user must find the 16-or-56 character web address
           for a directory website in order to access it. While it operated, the web address
           for the website described herein was listed on one or more of such directory
           sites adve1iising hidden services dedicated to the sexual exploitation of
           children.

           (Search Warrant Application,~ 28)


4. While it is true that websites on the Tor network are not directly "indexed" by search

   engines - such as Google - in the same manner as websites on the public internet, that

   does not mean that a user cannot easily find links to hidden Tor websites through

   Google.



                                          2
     Case 1:21-cr-00007-LJV-JJM Document 36-1 Filed 01/31/22 Page 3 of 3




      5. A simple search for "tor hidden service listing" or "onion directory listing" can lead a

         user to other public web pages that can contain individual links or lists of hidden Tor-

         only websites. So long as the user is running and using a Tor Browser, a simple click

         on these links can take the user to the hidden website, just as is commonly done on the

         public internet.


      6. Because Google does not index hidden Tor websites, one cannot search using Google

         for a direct link to specific content. Rather, it is possible for a·user to easily find a list

         oflinks to hidden Tor websites, click on a link, and be taken to that website without

         being aware of what content it contains. The typical names of these hidden Tor

         websites do not indicate possible content, due to the use of the 16-or-56-character web

         address.



DATED: Rochester, New York, January 31, 2022




    Sworn to before me
    this ~1.sf- Day of January 2022


                                                         JUDITH M. MIDDLETON
                                                       Notary Public, State of New York
                                                         Qualified in Monroe County
                                                           Reg. No. 01Ml49983v2
                                                      Commission Expires June 29, 20:2:!Z--




                                                  3
